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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

MONITRONICS INTERNATIONAL,                      )
INC.,                                           )
                                                )
       Plaintiff,                               )
                                                )          CIVIL ACTION NO.:
vs.                                             )
                                                )          CV _____________
OPTOM, INC., an Alabama corporation,            )
AXIS SECURITY INC., an Idaho                    )
corporation, CHARLES C. “CHRIS”                 )
BURRUP, an individual, MONIQUE                  )
JONES, an individual, PATRICK                   )
THORNBURGH, an individual, and                  )
TAMMY LABRUYERE, an individual,                 )
                                                )
       Defendants.                              )

         VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

       Plaintiff, Monitronics International, Inc. (“Moni”), hereby brings the following

Complaint against Defendants Optom, Inc. (“Optom”), Axis Security, Inc. (“Axis”), Charles C.

“Chris” Burrup, Monique Jones, Patrick Thornburgh, and Tammy LaBruyere.

                               PARTIES, JURISDICTION AND VENUE

       1.         Plaintiff Moni is a Texas corporation with its principal place of business in

Dallas, Texas. Moni is authorized to do business in Alabama, and is in the business of providing

monitored security system services to residential and commercial customers.        Moni is the

successor-in-interest to Security Networks LLC, having acquired Security Networks and all of its

assets in 2013.
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       2.      Defendant Optom is an Alabama corporation with its principal place of business

in Baldwin County, Alabama, and which does business by agent throughout Alabama. Optom is

in the business of marketing, selling, and installing electronic security systems.

       3.      Defendant Axis is an Idaho corporation that does business by agent throughout

Alabama. Axis is or was in the business of marketing, selling, and installing electronic security

systems. Upon information and belief, Axis is now doing business under the Optom name,

and/or Defendant Optom is the successor-in-interest or the alter ego of Defendant Axis.

       4.      Defendant Charles C. “Chris” Burrup is an individual residing in Baldwin

County, Alabama, and has engaged in the conduct described below within the Southern District

of Alabama. Burrup is a principal, officer and/or director of Optom and was also a principal,

officer and/or director of Axis.

       5.      Defendant Monique Jones is an individual residing in Gulfport, Mississippi, and

has engaged in the conduct described below within the Southern District of Alabama. Jones is

an employee of Optom and was also an employee of Axis.

       6.      Defendant Patrick Thornburgh is an individual residing in Pensacola, Florida, and

has engaged in the conduct described below within the Southern District of Alabama.

Thornburgh is an employee of Optom and was also an employee of Axis.

       7.      Tammy LaBruyere is an individual residing in Mobile, Alabama, and has engaged

in the conduct described below within the Southern District of Alabama. LaBruyere is an

employee of Optom and was also an employee of Axis.

       8.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332 because

the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs,

and is between citizens of different states.

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        9.       Venue for this action is proper in this judicial district pursuant to 28 U.S.C. §1391

because a substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in

this judicial district.

                                          Underlying Facts

        10.      On or about February 11, 2010, defendant Axis entered into an Affiliate

Agreement with Security Networks, LLC (referenced as the “Company”), pursuant to which

Axis agreed to market, sell, and install electronic security systems exclusively on behalf of the

Company in the counties of Baldwin, Jefferson, Lee, Mobile, Shelby, and Tuscaloosa in

Alabama. Defendant Burrup joined in the Affiliate Agreement as a guarantor.

        11.      In connection with the execution of the Affiliate Agreement, Defendants Axis and

Burrup also entered into a Nonsolicitation and Nondisclosure Agreement (“Axis Nonsolicitation

Agreement”) with the Company, pursuant to which Axis and Burrup agreed, among other things,

not to solicit the Company’s customers or accounts.           A copy of the Axis Nonsolicitation

Agreement is attached hereto as Exhibit A and is incorporated herein by reference. The Axis

Nonsolicitation Agreement was entered into by Axis as the “Affiliate,” and by Burrup as one of

the “Principals” of Axis.

        12.      In executing the Axis Nonsolicitation Agreement, Axis and Burrup agreed as

follows:

        Nonsolicitation and Nonacceptance. Affiliate and the Principals agree never to,
        either directly or indirectly, solicit and accept (if contacted), at any time in the
        future, any of the Company’s customers or accounts, including customers and
        accounts accepted by Company under the Affiliate Agreement for the purpose of
        providing electronic security, guard, intercom, central vacuum, home automation,
        home theater, audio systems or related services (collectively, the “Services”).
        This provision applies both to the customers and the residence or place of
        business occupied by such customers. In the event Affiliate or the Principals are
        contacted by such customers, Affiliate and the Principals will inform such

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       customers that they cannot provide the Services to such customers. Affiliate and
       the Principals agree to do so in a polite manner and to refer all such customers to
       Company with a positive recommendation. In addition, Affiliate and the
       principals agree that they will never disparage the services, business or reputation
       of Company by making false or misleading statements to another person.

(Axis Nonsolicitation Agreement at ¶ 1).

       13.     Furthermore, by executing the Axis Nonsolicitation Agreement, Axis and Burrup

acknowledged that they received and possessed confidential and proprietary trade secret

information belonging to the Company, and they agreed not to disclose or use such information

for their own benefit, or the benefit of others, as follows:

       Nondisclosure. Affiliate and the Principals acknowledge that they possess certain
       confidential, proprietary and trade secret information, materials and business
       concepts with respect to the operation of the security alarm business of Company,
       including among other things the marketing, selling, installing, monitoring and
       servicing of security alarm systems (the “Security Business”), including
       information regarding sales and marketing, products, services, vendors, customer
       lists and files (including former customers), accounting data and methods,
       operating procedures, pricing policies, strategic plans, intellectual property,
       customer contracts and other agreements, and manufacturer’s warranties
       (collectively, the “Proprietary Information”). Affiliate and the Principals agree:
       (i) never to publish, copy, disclose, allow to be disclosed, or use for their own
       benefit or for the benefit of any other person, firm, corporation or entity, the
       Proprietary Information without the prior written consent of Company, which can
       be withheld in its sole discretion, and (ii) to maintain strictly the confidentiality of
       the Proprietary Information at all times. Affiliate and the Principals agree to take
       all necessary precautions to protect the Proprietary Information from unauthorized
       disclosure or use. Upon the termination of the Affiliate Agreement, Affiliate will
       promptly deliver all Proprietary Information to Company. Affiliate and the
       Principals acknowledge and agree that in any proceeding to enforce this
       Agreement it will be presumed that the Proprietary Information constitutes
       protectable trade secrets, and that Affiliate and the Principals will bear the burden
       of proving that any portion of the Proprietary Information was publicly or
       rightfully known and disclosed by Affiliate and the Principals. Upon Company’s
       request, Affiliate and/or the Principals agree to execute and deliver to Company
       an affidavit as to the complete and proper return of all Proprietary Information to
       Company.

(Axis Nonsolicitation Agreement at ¶ 2).


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       14.      In the Axis Nonsolicitation Agreement, Axis and Burrup acknowledged that the

agreement was necessary for the legitimate business interests of the Company in engaging Axis

as a marketer of the Company’s products and services. (Axis Nonsolicitation Agreement at ¶ 4).

Defendants further acknowledged that the scope of the Axis Nonsolicitation Agreement

regarding duration and the level of activities restricted is reasonable. (Id).

       15.      In addition, each employee of Axis that marketed security system services on

behalf of the Company signed a separate Non-Solicitation & Non-Disclosure Agreement by and

between Axis, the Company, and the individual (“Individual Non-Solicitation Agreements”)

which provides:

       During the term of Representative’s employment with Affiliate and at all times
       thereafter, Representative will not solicit or accept (if contacted) any customer or
       account of Affiliate or of Company for the purpose of providing electronic
       security monitoring or related services. This includes customers and accounts
       accepted by Company under the Affiliate Agreement between Affiliate and
       Company (the “Affiliate Agreement”). In addition, Representative agrees never
       to disparage the services, business or reputation of Company or Affiliate.
       Nothing in this Agreement, however, is intended to prevent Representative from
       being self-employed or from working for any other person or company, including
       any competitor of Affiliate or Company.

(Individual Non-Solicitation Agreements at ¶ 1).

       16.      Defendants Jones, Thornburgh, and LaBruyere each executed an Individual Non-

solicitation Agreement, a copy of which is attached hereto as Exhibit B and incorporated herein

by reference.

       17.      Defendants Jones, Thornburgh, and LaBruyere acknowledged in the Individual

Non-Solicitation Agreements that certain confidential information and materials with respect to

the Company’s business, including but not limited to information regarding customers, contracts,

sales and marketing strategies, products, services, pricing policies and operating procedures (the


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“Confidential Information”) would be disclosed to the individuals in conjunction with their

work, and each agreed not to copy, disclose, or use that Confidential Information for his or her

own benefit or for the benefit of someone else. (Individual Non-Solicitation Agreements at ¶ 2).

       18.     Defendants Jones, Thornburgh, and LaBruyere further agreed that the Individual

Non-Solicitation Agreements were necessary for the legitimate business interests of the

Company and that the scope of the agreement regarding duration and the level of activities

restricted is reasonable. (Individual Non-Solicitation Agreement at ¶ 3).

       19.     In 2013, Plaintiff acquired the Company and all of its customer accounts. Axis

continued to serve as a dealer to market, sell, and install electronic security systems exclusively

on behalf of Plaintiff, until Axis provided notice of termination of its dealer agreement, effective

February 11, 2015.

       20.     Thereafter, some of the principals, officers, directors and/or employees of Axis

formed and began working for Defendant Optom, and later began using that entity to market,

sell, and install electronic security systems on behalf of Vector Security Inc. (“Vector”), a

competitor of Plaintiff. Vector also provides monitored security system services to residential

and commercial customers.

       21.     Burrup is listed on the Certificate of Formation for Optom as the sole Director of

the company. Optom and Burrup, as a principal, officer, and/or director of Optom, engaged or

hired individual Defendants Jones, Thornburgh, and LaBruyere, who were formerly employees

of Axis, to market, sell, and install electronic security systems for Optom on behalf of Vector.

       22.     Available information indicates that Optom is being operated as a continuation of

the Axis entity, or it is a successor-in-interest or an alter ego of Axis. For example, Optom and

Axis both operated offices located in Daphne, Alabama in close proximity to each other. At least

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five of Axis’s sales representatives are now working for Optom, including Jones, Thornburgh,

and LaBruyere. The website for Optom (Optominc.com), on its “benefits” page, refers to the

“AXIS Lifetime Maintenance Program.” Optom was formed in 2015, but the Better Business

Bureau website states that Optom has been in business since 2010, which is the year that Axis

was incorporated.

       23.    In or around October 2015, Defendants began soliciting current customers of

Plaintiff in direct violation of the Axis Nonsolicitation Agreement and the Individual Non-

Solicitation Agreements.

       24.    Upon information and belief, Burrup is soliciting Plaintiff’s customers that were

previously sold by Axis through his employees at Optom, in violation of the Axis

Nonsolicitation Agreement, and such conduct is wrongfully interfering with Plaintiff’s business

and contractual relationships. Plaintiff is aware of specific customers that Jones, Thornburgh,

and LaBruyere have solicited which were originally sold by Axis.

       25.    Defendants have unlawfully targeted and re-solicited customers and accounts

previously sold by Axis on behalf of Plaintiff or its predecessor, as well as other customers of

Plaintiff. Since October 2015, Defendants have solicited and taken more than 100 of Plaintiff’s

customers residing in Mobile, Theodore, Saraland, Satsuma, Daphne, Foley, Whistler, Grand

Bay, Loxley, Chickasaw, Daphne, Bay Minette, Spanish Fort, and other locations.

       26.     Defendants are wrongfully using Plaintiff’s confidential and proprietary

information, including customer and pricing information, to call on and solicit Plaintiff’s

customers.

       27.    In addition, Defendants have used false and misleading statements to deceive

customers into switching their alarm monitoring service away from Plaintiff, including making

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misrepresentations that Plaintiff was going out of business, that Plaintiff was bought out by

Vector, and that Vector was a sister company of Plaintiff.            Defendants also sometimes

misrepresented that they were representatives of Plaintiff, and then surreptitiously switched the

account to Vector without the customer’s consent.

       28.     Plaintiff has suffered damages in excess of $150,000 as a result of Defendants’

illegal and wrongful conduct and the conduct is ongoing.

       29.     On or about December 27, 2016, Plaintiff sent a demand letter to Optom and

Burrup, demanding, among other things, that Optom, Burrup, and others working for Optom

cease and desist from soliciting, contacting, and recruiting Plaintiff’s customers, and from

engaging in conduct that interferes with Plaintiff’s business and its relationships with its

customers. Plaintiff also demanded the return of any and all customer contracts, customer

information, and other confidential and proprietary information involving Plaintiff’s customers.

A copy of the letter is attached hereto as Exhibit C and incorporated herein by reference.

       30.     Nevertheless, Defendants have continued to solicit Plaintiff’s customers and to

interfere with Plaintiff’s business and contractual relationships, and Defendants have failed and

refused to return Plaintiff’s confidential and proprietary information.

       31.     Defendants Axis and Burrup agreed in the Axis Nonsolicitation Agreement that

immediate and irreparable damage will result if they refuse to perform their obligations under the

Nonsolicitation Agreement, and that an injunction may be sought without the posting of bond to

restrain such conduct. (Axis Nonsolicitation Agreement at ¶ 6).

       32.     Defendants Jones, Thornburgh, and LaBruyere acknowledged in the Individual

Non-Solicitation Agreements that immediate and irreparable damage will occur if the individual




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violates the agreement, and that Company may seek an injunction without the posting of bond or

other security. (Individual Non-Solicitation Agreements at ¶ 2).

        33.     The Axis Nonsolicitation Agreement further provides that Defendants will pay all

of Plaintiff’s reasonable legal fees and costs in enforcing the contract.

                                               COUNT ONE
                                             (Injunctive Relief)

        34.     Plaintiff restates and incorporates by reference all preceding paragraphs, as if

fully set forth herein.

        35.     Pursuant to Rule 65 of the Federal Rules of Civil Procedure, Plaintiff seeks a

preliminary injunction and permanent injunction enjoining the Defendants from contacting,

soliciting, or recruiting Plaintiff’s customers and any other conduct that interferes with Plaintiff’s

business relationships with its customers.

        36.     Plaintiff also seeks a preliminary and permanent injunction enjoining the

Defendants from interfering with the nonsolicitation agreements, either directly or by aiding,

abetting, encouraging, and causing the other Defendants to violate the nonsolicitation

agreements.

        37.     Plaintiff further seeks a preliminary and permanent injunction requiring the

Defendants to return any and all customer contracts, customer information, and other

confidential and proprietary information involving Plaintiff’s customers.

        38.     Defendants have knowingly and intentionally breached the Axis Nonsolicitation

Agreement and the Individual Non-Solicitation Agreements, have intentionally interfered with

Plaintiff’s business and contractual relationships, and have misappropriated Plaintiff’s

confidential information and trade secrets to benefit themselves and others at Plaintiff’s expense.


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        39.     Plaintiff will be irreparably harmed if the injunctive relief is not granted, and the

Plaintiff has no adequate remedy at law. Defendants have contractually acknowledged in the

Axis Nonsolicitation Agreement and the Individual Non-Solicitation Agreements that immediate

and irreparable harm will result from a breach of those agreements, and that no bond should be

required to obtain injunctive relief.

        40.     Plaintiff has a substantial likelihood of success on the merits of this case, and the

entry of a preliminary and permanent injunction will not conflict with the public interest.

                                             COUNT TWO
                          (Breach of Contract - Axis Nonsolicitation Agreement)

        41.     Plaintiff restates and incorporates by reference all preceding paragraphs, as if

fully set forth herein.

        42.     Defendants Axis and Burrup have breached, and are continuing to breach, the

Axis Nonsolicitation Agreement in the manner described above.

        43.     Defendant Optom, as successor-in-interest or alter ego of Axis, is also liable for

breach of the Axis Nonsolicitation Agreement.

        44.     As a direct and proximate result of these breaches, Plaintiff has suffered and will

continue to suffer the irreparable harm and damages described above.

                                           COUNT THREE
                    (Breach of Contract - Individual Non-Solicitation Agreements)

        45.     Plaintiff restates and incorporates by reference all preceding paragraphs, as if

fully set forth herein.

        46.     Defendants Jones, Thornburgh, and LaBruyere have breached, and are continuing

to breach the Individual Non-Solicitation Agreements in the manner described above.




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        47.     As a direct and proximate result of these breaches, Plaintiff has suffered and will

continue to suffer the irreparable harm and damages described above.

                                          COUNT FOUR
               (Violation of the Alabama Trade Secrets Act - Ala. Code 8-27-1, et seq. )

        48.     Plaintiff restates and incorporates by reference all preceding paragraphs, as if

fully set forth herein.

        49.     Defendants Axis and its principal, Burrup, have obtained valuable, confidential

trade secret information from Plaintiff through their previous engagement as an independent

dealer to market, sell, and install electronic security systems on behalf of Plaintiff and its

predecessor.    Defendants have acknowledged and agreed that the information constitutes

protectable trade secrets.

        50.     Defendants Jones, Thornburgh, and LaBruyere have also obtained valuable,

confidential trade secret information of Plaintiff through their employment with Axis and in

conjunction with marketing, selling, and installing electronic security systems on behalf of

Plaintiff and its predecessor, as acknowledged in the Individual Non-Solicitation Agreements.

        51.     Defendants have disclosed these trade secrets to Defendant Optom and/or utilized

the confidential trade secret information for the benefit of Optom and themselves, in violation of

the Alabama Trade Secrets Act.

        52.     Defendant Optom has wrongfully obtained and utilized Plaintiff’s trade secret

information through the other Defendants.

        53.     Defendants have used and are now using the confidential and trade secret

information obtained from Plaintiff to solicit and take Plaintiff’s current customers, in violation

of the Alabama Trade Secrets Act.


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        54.     As a direct and proximate result of the Defendants’ violation of the Alabama

Trade Secrets Act, Plaintiff has suffered and will continue to suffer irreparable harm and

damages as described above.

                                        COUNT FIVE
           (Interference with Business and Contractual Relationships - Customers)

        55.     Plaintiff restates and incorporates by reference all preceding paragraphs, as if

fully set forth herein.

        56.     Plaintiff has a protectable interest in its customer contracts and business

relationships with its customers.

        57.     Defendants are aware of Plaintiff’s business and contractual relationships with its

customers, having gained access to this information while acting as a dealer, principal, or

employee of a dealer, in the marketing, selling, and installing electronic security systems on

behalf of Plaintiff and its predecessor.

        58.     Defendants have intentionally interfered with Plaintiff’s business and contractual

relationships, as described above, and Plaintiff has suffered irreparable harm and damage as a

result of the interference.

                                      COUNT SIX
 (Interference with Business and Contractual Relationships - Nonsolicitation Agreements)

        59.     Plaintiff restates and incorporates by reference all preceding paragraphs, as if

fully set forth herein.

        60.     Plaintiff has a protectable interest in the Axis Nonsolicitation Agreement and the

Individual Non-Solicitation Agreements.




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        61.     Defendant Optom is aware of the existence of these nonsolicitation agreements,

and it has intentionally interfered with them by aiding, abetting, encouraging, and causing the

other Defendants to violate the nonsolicitation agreements for the benefit of Optom.

        62.     Defendant Burrup is aware of the existence of the Individual Non-Solicitation

Agreements, and he has intentionally interfered with them by aiding, abetting, encouraging, and

causing Jones, Thornburgh, and LaBruyere to violate agreements for the benefit of Optom.

        63.     Plaintiff has suffered irreparable harm and damage as a result of the interference

as described herein.

                                            COUNT SEVEN
                                             (Conspiracy)

        64.     Plaintiff restates and incorporates by reference all preceding paragraphs, as if

fully set forth herein.

        65.     At all material times, Defendants have conspired together to further the plan and

purposes described above, and specifically to violate and interfere with the Axis Nonsolicitation

Agreement and the Individual Non-Solicitation Agreements, to interfere with the business and

contractual relationships between Plaintiff and its customers, and to wrongfully use Plaintiff’s

confidential and trade secret information to solicit and take Plaintiff’s customers in violation of

the Alabama Trade Secrets Act.

        66.     Plaintiff has suffered harm and injury as a proximate result of the conspiracy and

scheme of Defendants as described herein.




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                                         Prayer for Relief

       WHEREFORE PREMISES CONSIDERED Plaintiff prays that the Court will take

jurisdiction of this matter and

       A.      Enter a preliminary injunction that (i) Enjoins all Defendants from contacting,

soliciting, or recruiting Plaintiff’s customers and any other conduct that interferes with Plaintiff’s

business relationships with its customers; (ii) Enjoins all Defendants from interfering with the

nonsolicitation agreements, either directly or by aiding, abetting, encouraging, and causing the

other Defendants to violate the nonsolicitation agreements; and (iii) Requires the Defendants to

return any and all customer contracts, customer information, and other confidential and

proprietary information involving Plaintiff’s customers;

       B.      Enter a final judgment that permanently enjoins Defendants from contacting,

soliciting, or recruiting Plaintiff’s customers and any other conduct that interferes with Plaintiff’s

business relationships with its customers, and enjoins Defendants from interfering with the

nonsolicitation agreements;

       C.      Award compensatory and punitive damages against Defendants;

       D.      Awards Plaintiff all of the costs, expenses and attorneys’ fees incurred by it in

pursuing this action;

       E.      Enter an Order granting Plaintiff leave to conduct expedited discovery so that it

can more completely prepare for a hearing on a preliminary injunction; and

       F.      Award Plaintiff any such further and different relief as the Court may deem

proper based on the evidence.




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Respectfully submitted,

s/Crawford S. McGivaren, Jr. ___                       s/Jarrod J. White
Crawford S. McGivaren, Jr. MCGIC8378                   Jarrod J. White WHITJ1010

s/ Diane B. Maughan
Diane B. Maughan MAUGD4912

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csm@cabaniss.com                                       jjw@cabaniss.com
dbm@cabaniss.com

                      Attorneys for Plaintiff Monitronics International, Inc.




        DEFENDANTS TO BE SERVED BY CERTIFIED MAIL AS FOLLOWS:

Optom, Inc.                                       Axis Security, Inc.
c/o Incorp Services, Inc.                         c/o National Registered Agents Inc.
2094 Myrtlewood Drive                             2 North Jackson Street Suite 605
Montgomery, AL 36111                              Montgomery, AL 36104

Charles C. “Chris” Burrup                         Patrick Thornburgh
27370 Meade Trl                                   6121 Azalea Rd.
Loxley AL 36551-4127                              Pensacola, FL 32504

Charles C. “Chris” Burrup                         Tammy LaBruyere
9241 Sanibel Loop                                 1645 Rochelle St.
Daphne AL 36526-6454                              Mobile, AL 36693

Monique Jones
3805 Monterey Dr.
Gulfport, MS 39501




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